So © ST WD wm & WH PO

Bw MY MY BY BP YH PB HN Re Re ee Se Se ee
oN DM FW YN KF DO eS ITD NH BP WwW ww KB SO

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 1 of 13

Magistrate Judge S. Kate Vaughan

———— FILED ENTERED
—— LODGED —_RECEIVED

SEP 02 2021

AGT
UNITED STATES DISTRICT COURT FOR THE” SHINGTOR uty

WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, CASE NO.
Plaintift COMPLAINT for VIOLATION
y. Title 21, U.S.C. Section 846
ROBERT KYE ARTZ,
Defendant.

 

 

 

 

BEFORE, S. Kate Vaughan, United States Magistrate Judge, U. S. Courthouse,
Seattle, Washington.

The undersigned complainant being duly sworn states:

COUNT 1
Conspiracy to Distribute Controlled Substances

Beginning at a time unknown, but within the past five years, and continuing until
on or about September 2, 2021, on the Tulalip Indian Reservation, within the Western
District of Washington, and elsewhere, of ROBERT K. ARTZ and others known and
unknown, did knowingly and intentionally conspire to distribute, heroin,
methamphetamine, and fentanyl (N-phenyl—N—{ i—(2—phenylethyl)4—piperidiny]]
propanamide), substances controlled under Title 21, United States Code, Section 812.

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- |
United States vy. Artz et al., MJ 21-490-SKV
So CO NI DA MN BB WD NH we

MY NM NY NY YW YP BB De ee me Se Se ee
oN DH SF YP YF DD Oe HI DRA BR wD HY GS

 

 

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 2 of 13

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C),
and 846.

And the complainant states that this Complaint is based on the following
information:

I, P. Zoller, a Task Force Officer with Federal Bureau of Investigation,
Northwestern Washington Safe Trails Task Force, having been duly sworn, state as
follows:

AFFIANT BACKGROUND

1. I, P. Zoller, am a fully Commissioned Police Officer with the Tulalip Police
Department assigned within the exterior boundaries of the Tulalip Reservation located in
Tulalip, Washington. I have been a commissioned officer since July of 2015 and I have
graduated from the Federal Law Enforcement Training Center Police Academy and the
Washington State Criminal Justice Training Center Police Equivalency Academy. My
duties and training include traffic enforcement, crimes against persons, drug
identification and recognition, pill identification, drug recognition, drug interdiction, and
DUI detection. I am currently assigned to the Detective Division as a Tulalip Drug Task
Force Detective. I am also assigned to the Northwestern Washington Safe Trails Task
Force. I hold a deputation from the Federal Bureau of Investigation (“FBI”) and United
States Marshal Service that authorizes me to investigate violations of Title 18 and Title
21 of the United States Code.

2. I have participated in, and successfully completed, multiple training
courses, including: Advanced Criminal Training/Workshop, Managing Narcotic
Informants, Washington State Narcotics Investigator Association Training, and the Drug
Enforcement Administration (“DEA”) 80-hour Basic Drug Investigation Course. The
DEA course training on search and seizure reviews, electronic surveillance and search
warrants, drug identification, pharmacology identification, developing and utilizing
confidential sources, undercover operations and risk management, undercover practical

exams, Jetway and drug interdiction case studies, raid plan development, de-confliction,

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 2
United States v. Artz et al., MJ 21-490-SKV
Oo C6 DY DMN F&F WD BH BH

Y MY wR NY NY NY VY PDP Oe Be eB ese eae ese ew DW Ln LY
Oo ND YM FWY FF SD OO I HN KR wD BH HS

 

 

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 3 of 13

asset forfeiture, vehicle-involved arrests, undercover practical exercises, trends and
methods of trafficking and intelligence, and technical operations.

3. In my role as a Drug Task Force Detective for the Tulalip Police
Department, I have participated in narcotics investigations involving heroin, fentanyl,
cocaine, marijuana, and methamphetamine. These investigations have resulted in the
arrest of individuals, the seizure of narcotics and/or narcotic-related evidence, and the
forfeiture of narcotics related assets. I have been involved in the service of search
warrants as part of these investigations. As a result of my training and experience, I am
familiar with the various tools, methods, trends, paraphernalia and related articles used by
various traffickers in their efforts to conceal and distribute controlled substances. I am
also familiar with the manner in which drug traffickers use telephones, often cellular
telephones, to conduct their unlawful operations.

4. Because this Affidavit is submitted for the limited purpose of establishing
probable cause, it does not set forth each and every fact that I or others have learned
during the course of this investigation. I have set forth only the facts that I believe are
necessary to establish probable cause to believe that ROBERT K. ARTZ conspired to
distribute controlled substances, in violation of in violation of 21 U.S.C. § 846.

SOURCES OF INFORMATION

5. I make this Affidavit based upon personal knowledge derived from my
participation in this investigation and upon information I believe to be reliable from the
following sources:

a. My training and experience investigating drug trafficking and related
criminal activity, as described herein;

b. Oral and written reports and documents about this and other
investigations that I have received from agents of the Tulalip Police Department, the
Snohomish County Sherriff’s Office, and other federal, state and local law enforcement

agencies;

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 3
United States v. Artz et al., MJ 21-490-SKV
SC Oo SND MH FF W LH

VY Ye Y VY NY NY NY HY VY HB Be ee ese es De en ED
CoC aD MW FWY FF CS Owe ID wm BR ww HY oS

 

 

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 4 of 13

C. Physical surveillance conducted by the aforementioned agencies,

and other law enforcement agencies, that has been reported to me directly or indirectly;

d. Washington State Department of Licensing records;
e. Tulalip Tribal Registry records;

f. Commercial databases;

g. Public records; and

h. Publicly viewable information on social media websites (i.e.,
Facebook, Instagram).
SUMMARY OF PROBABLE CAUSE

6. Since June 2020 and continuing to September 2021, the Tulalip Police
Department (“TPD”) investigated drug sales occurring at 8021 30th Drive Northeast
(“the SPENCER HOUSE”), which is known as one of the primary locations to purchase
drugs on the Tulalip Reservation. During the course of the investigation, TPD identified
ROBERT K. ARTZ, a resident of the SPENCER HOUSE, as a primary source of drugs.
ARTZ was twice identified fleeing from law enforcement and leaving behind his supply
of drugs, including methamphetamine, heroin, and fentanyl. During the execution of a
search warrant on September 2, 2021, TPD found $2,420 in cash rolled up and secured
with rubber bands, a wallet with $1,344 cash, a credit card with ARTZ’s name, and a
driver’s license of another individual, and a fanny pack containing a scale, miscellaneous
drug paraphernalia, and seventeen M30 pills.

PROBABLE CAUSE
Background on Counterfeit Fentanyl Pills

7. Based on my training and experience, I know that “Perc 30s,” “M30s,”
“fedi pills,” and “blues” all are terms used to describe pills designed to resemble
legitimate 30mg oxycodone hydrochloride pills. They are typically circular blue pills
imprinted with “M30.” These pills are commonly created with a pill press and pressed
with acetaminophen and a small amount of fentanyl. Fentany] is a potent opiate, much

more potent than heroin. Fentanyl is cheap to buy in bulk and can be ordered online and

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 4
United States v. Artz et al., MJ 21-490-SKV
Oo Oe ND DBD A FB WwW NN

VY MY YY NY NY YY NY DO ee He eae ewe Ye ew Ee Ye
oS ND YM FF WY FPF DO fe DW DWH BR HD HH GS

 

 

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 5 of 13

shipped to one’s residence. It often causes overdoses and overdose deaths due to its
potency.

8. TPD Detectives know from routine law enforcement investigations and
contacts that $.S. is a Tulalip Tribal member involved in drug distribution on the Tulalip
Reservation. ARTZ is also known by TPD Detectives, based on routine law enforcement
investigations and contacts, to be involved in drug distribution on the Tulalip
Reservation. I know that ARTZ and S.S. are in a long-term dating relationship and that
ARTZ has lived at the SPENCER HOUSE on the Tulalip Reservation for over a year.

9. In or around May 2020, while conducting law enforcement surveillance on
an unrelated house near to the SPENCER HOUSE, I saw significant foot traffic and
activity at the SPENCER HOUSE and began to suspect that it may be the location of
drug distribution.

ARTZ Hides with a Fanny Pack of Drugs and Cash in June 2020

10. On June 30, 2020, I saw ARTZ and S.S. walking towards a Lincoln Town
Car in the parking lot of a hardware store on the Tulalip Reservation. I attempted to
contact them and ARTZ immediately ran and hid behind manure bales located on the
north end of the business. While he was running, I could see some type of bag secured
around ARTZ’s waist which was bobbing up and down as he ran. I followed ARTZ to
the manure bales and when I found him he was taken into custody. With the assistance of
a narcotics canine we found, hidden in one of the bales, a Nike fanny pack with 28 M30
pills, 12.82 grams of heroin, 3.63 grams methamphetamine, .71 grams of marijuana, and
$1,680 cash.

ll. The drugs found in the Nike fanny pack were submitted to the Washington
State Patrol Crime Laboratory, which concluded the following:

a. One of the M30 pills was tested and found to contain fentanyl.
b. The suspected heroin was tested and found to contain heroin.

c. The suspected methamphetamine was found to contain methamphetamine.

Hl

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 5
United States v. Ariz et al., MJ 21-490-SKV
Oo Oo NI WB mW BP WH PN BF

Y NY NY NY NY NY YY BY Dee me me ee ese ea Ya
SND YM FF WN YF DDO eB aI DH WNW BR wD HH SoS

 

 

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 6 of 13

ARTZ Flees from a Car found to Contain Drugs and a Scale in May 2021

12. On or around May 11, 2021, I saw a 2006 Hyundai Sonata with inoperable
brake lights entering the 81st Street Housing District and initiated my overhead red and
blue lights. The driver, later identified as J.M., accelerated towards 30th Drive Northeast
and parked in the driveway of the SPENCER HOUSE. The front passenger quickly
exited from the car and ran towards the back of the SPENCER HOUSE. I recognized the
passenger as resembling ARTZ, but could not see him clearly enough to be certain.
Backup units arrived to search for ARTZ but he was not found.

13. Anarcotics canine was deployed around the Sonata and alerted to the odor
of narcotics. ] obtained a search warrant from Tulalip Tribal Court for the Sonata.
During the search of the Sonata I found 307 M30 pills, 10.82 grams of heroin, and 26.01
grams of methamphetamine. I also found a digital scale with the name “BADBOB”
scratched on the back. The drugs and scale were found in a Gucci bag that also contained
a photograph of ARTZ’s daughter. As explained in paragraph 24 below, “badbob” is
consistent with one of ARTZ’s email addresses.

14, J.M. was arrested for eluding police, driving while license suspended,
obstructing a law enforcement officer, and for possession of drug paraphernalia. I
verbally advised J.M. of his Miranda Rights and he provided a statement admitting that
the passenger who fled from his car was ARTZ.

15. As explained in paragraphs 24-25 below, ARTZ sent text messages on May
12 in which he discussed having to flee when Tribal law enforcement attempted to pull
over a car he was in, stating that law enforcement recovered “my Gucci backpack and all
my work.”

June 2021 Purchase of Counterfeit Fentanyl Pills

16.  Onor around June 30, 2021, TPD K9 Officer Jake Wilcox encountered an

individual known to have an outstanding Tulalip Tribal warrant for theft and burglary.

The individual (“CS-3”) was taken into custody and told Officer Wilcox that CS-3 would

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 6
United States v. Artz et al., MJ 21-490-SKV
Oo CoO ND AH BP YW YH HH

BO Be NY YP BRD BD BD RD i a a a a a
ao SNS DW YS SFP YW NY KF BD OO CC; A DR wm BP WwW HO KF

 

 

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 7 of 13

be willing to work for TPD as a confidential informant in exchange for potential
consideration on his outstanding charges. !

a. Detective James Cabras and I met with CS-3 at TPD and CS-3 told
us that CS-3 was willing to buy drugs from “Bobby,” who I knew to be ARTZ. CS-3 told
us that CS-3 had bought drugs from ARTZ over a hundred times throughout the years
and that ARTZ had been CS-3’s “main plug” for a long time. Based on my training and
experience, I know the term “plug” is used to refer to a drug dealer. CS-3 told us that
ARTZ lived with his girlfriend who I knew to be S.S., at the SPENCER HOUSE. I
showed CS-3 a photograph of the SPENCER HOUSE and CS-3 was able to correctly
identify the house.

b. I searched CS-3 and CS-3’s car and found no narcotics, money, or
contraband. I gave CS-3 cash and instructed CS-3 to purchase pills. I then secured
vehicle to use for the buy and searched it for narcotics, money, and contraband and found
none. I gave CS-3 $40.00 of cash and instructed CS-3 to purchase three pills.

C. I then drove CS-3 to the 81st Street Housing District. I dropped CS-
3 off near the intersection of Donald Campbell Road and 81st Street, and Detective
Cabras and I watched CS-3 enter the SPENCER HOUSE through the front door. CS-3
exited the house moments later and we made contact with him. From exiting the
SPENCER HOUSE and making contact with me CS-3 did not make contact with any
other individuals. CS-3 gave me three round blue pills imprinted with “M30.” I searched
CS-3 and found no narcotics, cash, or contraband.

d. I debriefed CS-3, who told me that when CS-3 entered the
SPENCER HOUSE he found multiple individuals who he did not know. He asked for
ARTZ, but was advised by the unknown individuals that ARTZ was not home. Shortly
thereafter, S.S. arrived home and told CS-3 that ARTZ had been arrested earlier that day.
I later confirmed that ARTZ was arrested by the Everett Police Department on June 30,

 

' CS-3 has a conviction for third degree theft.
Complaint- 7
United States v. Artz et al., MJ 21-490-SKV

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
CO NDA NW KR ww LY

Bo NHN BH BH WB PD PD NR RD i i ei a ea a a a
Oo SI DB A FF WY NY FF DBD OO CO HD DH HA BR WH PB FH CS

 

 

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 8 of 13

2021, for Possession with Intent and for an outstanding felony warrant out of the
Department of Corrections. S.S. and CS-3 then went into S. SPENCER’s bedroom where
CS-3 gave S.S. $40.00 and S.S. gave CS-3 three oxycodone hydrochloride pills.
e. I am providing the pills to the FBI for laboratory testing.
Multiple Cooperating Witnesses Identify ARTZ as a Drug Trafficker in August 2021

17. Onor around August 11, 2021, I contacted a male during a traffic stop on
the 3400 block of 105th Street Northeast on the Tulalip Reservation and clearly saw
methamphetamine and drug paraphernalia in the car. The driver (“Witness-1”) gave me
consent to search the car and we recovered the drugs and paraphernalia. I asked Witness-
1 if Witness-1 had purchased the drugs. Witness-1 said no and explained that her/his
acquaintance purchased pills from a female who, based on the nickname provided, I
knew to be S.S., who had a boyfriend under the supervision of the Washington State
Department of Corrections (“DOC”). I know that ARTZ was under the supervision of
the DOC at this time. Witness-1 explained that 8.8. lived “Down the Quil. I think its
13th. That little housing projects, there. Right down there. Go all the way to the back.
On the left, that house with all that shit out there, cars. Right there, she sells hella pills.”
Based on this description, I believe that Witenss-1 was describing S.S. and the SPENCER
HOUSE. Witness-| then provided me with S.S.’s cell phone number, which was the
same as he number I knew to be S.S.’s cell phone number.

18. Onor around August 12, 2021, TPD patrol units Officer Wilcox informed
me that they had arrested two individuals for theft, both of whom are known drug users.
Detective Cabras and I had seen the individuals earlier in the week in the proximity of the
SPENCER HOUSE. Following their arrest, patrol said that one of the individuals
(“Witness-2”)* was willing to speak with us.

//

 

* Witness-2 was willing to speak with us in exchange for not being held on any charges. Witness-2 has no criminal
convictions. Witness-2 does have Tulalip Tribal arrest history for Theft, Possession of a Controlled Substance,
Possession of Drug Paraphernalia, and Criminal Endangerment.
Complaint- 8
United States v. Artz et al, MJ 21-490-SKV

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 583-7970
Co Se DD NH F&F WD HO we

BS RM NH LN LP DP BD RD RD i i ea ea a
Oo SN DBD HA FP WO VY KH GD ODO CO a HDR A BP WH wpB KF OS

 

 

Case 2:21-mj-00490-SKV Document 1 Filed 09/02/21 Page 9 of 13

19. Tadvised Witness-2 of her/his Miranda rights and Witness-2 said that s/he
understood those rights. I asked Witness-2 about drug dealers on the Tulalip Reservation
and Witness-2 said that s/he was willing to “give up one guy” who Witness-2 knew to be
non-tribal drug dealer selling “a couple hundred” pills. Witness-2 described this
individual as a tall, skinny white male who lived on 81st Street and was named “Bobby”
who lived with his girlfriend. Witness-2 admitted to having purchased drugs from Bobby
earlier that day. Witness-2 buys “Perc 30s” from Bobby for $10 a pill and had purchased
pills from Bobby every day for the past two weeks. Witness-2 described Bobby’s room
as being down a hallway, last bedroom on the right. I showed Witness-2 a photograph of
ARTZ and Witness-2 identified ARTZ as “Bobby.” Witness-2 agreed to show us
ARTZ’s house, and Detective Cabras and J used an unmarked patrol vehicle to take
Witness-2 to the 81st Street Housing District where Witness-2 identified the SPENCER
HOUSE as the house where Witness-2 buys drugs. We then released Witness-2 from
custody.

ARTZ Selis M30 Pills on August 13, 2021

20. Onor around August 13, 2021, I spoke with a cooperating source (“CS-
4”),.? CS-4 told me that CS-4 had purchased drugs from several different houses and
people on the Tulalip Reservation. CS-4 told me that L.S. sold counterfeit oxycodone
pills out of the 81st Street Housing District. I know L.S. to be S.S.’s sister who also lives
at the SPENCER HOUSE. CS-4 agreed to conduct controlled buys for TPD, including a
controlled buy off of L.S.

a. Detective Cabras and I searched CS-4 and found no drugs, money,
or contraband. Detective Cabras also searched the undercover vehicle we were using for

the operation and found no drugs, money, or contraband. I gave CS-4 $40.00 cash to

 

3 CS-4 had agreed to work for TPD as an informant in exchange for mitigation related to a warrant out of
Marysville. CS-4 has felony convictions for assault in the second degree, theft in the second degree, possession of a
controlled substance, false/misleading statements to a public servant, theft in the third degree, driving under the
influence, attempted theft, theft in the fourth degree, possession of stolen property in the third degree, and driving
under the influence. CS-4 has previously provided credible information that has been corroborated by law
enforcement.

Complaint- 9

United States y. Artz et al, MJ 21-490-SKV

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 9810]
(206) 553-7970
Oo CO ~T DW Wm BR WH PPO

NO wR BY KH PL PY KN BD RO RR ea a ea a a
eo SN DN OM FSF WY NY KF DGD Oe HID DN BB WwW YP fF |S

 

 

Case 2:21-mj-00490-SKV Document1 Filed 09/02/21 Page 10 of 13

purchase narcotics. Detective Cabras and I drove CS-4 to the residence of an individual
who CS8-4 had identified as a source of counterfeit oxycodone pills on the Tulalip
Reservation, J.F. We attempted to conduct a controlled buy at J.F.’s house, but J.F. was
not there.

b. Detective Cabras and I then drove CS-4 to the SPENCER HOUSE to
purchase drugs from L.S. CS-4 entered the SPENCER HOUSE through the front door.
While waiting for CS-4 to exit the house I saw S.S. and L.S. outside the house. | also
saw a male who I recognized from previous narcotics investigations, D.J., standing next
to a gray BMW. While CS-4 was still in the SPENCER HOUSE, a silver Cadillac
Escalade EXT pickup truck arrived and parked outside the SPENCER HOUSE. J.F., and
an unknown male (“FNU LNU”) exited the Escalade and both men entered the
SPENCER HOUSE. About 15-20 minutes later, D.J., J.F., and FNU LNU. ARTZ exited
as well, wearing a white t-shirt, plaid shorts, and a dark colored shoulder bag. All four
men left the 81st Housing District in the Escalade and the BMW.

C. CS-4 immediately returned to our vehicle after the buy and CS-4
handed me two blue pills imprinted with “M30.” Detective Cabras and I searched CS-4
and found no drugs, money, or contraband. I found a torn-off piece of notebook paper
that read “3609136931 Bobby.”

d. CS-4 told me that when he arrived at the SPENCER HOUSE he
spoke with L.S., who told CS-4 to proceed into the house, down the hallway, to the last
bedroom on the right, and that her friend would “serve them up.” CS-4 followed L.S.’s
instructions and found a baldheaded white male wearing a white t-shirt, jean shorts, and
wearing a shoulder bag across his body. Based on this description, which was similar to
what I saw ARTZ wearing when ARTZ exited the SPENCER HOUSE, I believe the
individual who CS-4 met in the back bedroom was ARTZ.

e. CS-4 explained that ARTZ interrogated CS-4, believing CS-4 to be
an informant. D.J. and $.S. were also with ARTZ and CS-4 in the bedroom. ARTZ
instructed CS-4 to smoke a pill to prove that CS-4 was not an informant. CS-4 feared for

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 10
United States v. Artz et al., MJ 21-490-SKV
COC Oe ND DR MH BRB WH HB we

Bo NH KH wD BY BD HD DD DDR Re a ea a a a
Co a WS OM SF WH HY YF SD CO CO HN NHN HN BR DH PM fF CS

 

 

Case 2:21-mj-00490-SKV Document1 Filed 09/02/21 Page 11 of 13

his/her safety so agreed to smoke the pill, after which CS-4, ARTZ, and D.J. left the
house. While in the back bedroom, CS-4 said that ARTZ had written his name and
number on a piece of paper and handed it to CS-4.
f. I am providing the pills to the FBI for laboratory testing.
Cellphone Used by ARTZ and S.S. Contains Evidence of Drug Trafficking
21. In July 2021, an individual contacted TPD to provide information about
drug trafficking on the Tulalip Reservation (“Witness-3”). Witness-3 had found a
cellphone in Witness-3’s car after the car had been borrowed. Witness-3 opened the
phone, which was unlocked, found evidence of drug trafficking, and turned the phone
over to TPD. Based on Witness-3’s review of the phone, Witness-3 believed that the
phone belonged to ARTZ. I then obtained a search warrant from Snohomish County
Superior Court to seize the phone and search it for evidence of drug trafficking. During
the resulting search, I found the following:
a. Indica of the phone belonging to ARTZ:
i. Multiple photographs of ARTZ and S.S.

il. Photographs of ARTZ’s daughter, which I recognized from
the photograph found in ARTZ’s Gucci back after he fled from J.M.’s car on May 11,
2021.

iii. A photograph of ARTZ holding a pistol.

iv. Email addresses that appear to belong to ARTZ:
badbob2385@gmail.com, bobartz2385@gmail.com. I recognized “2385” as being
consistent with the day and year of ARTZ’s birthday.

b. Videos of 8.8. smoking a crystal-like substance.

C. Communications regarding drug trafficking, including
communications about ARTZ selling drugs to people and ARTZ purchasing drugs from a
supplier, many of which used coded language. Among these text messages was a

conversation on May 12, 2021, the day after TPD recovered a Gucci bag with narcotics

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 11
United States v. Artz et al., MJ 21-490-SKV
CoC Oo ND DH OW KR WH BP He

NO MM NY YY BD PM PB BD DD He HR i a ea ea ea i
ont DH HM FF WH NY YF DBD BO we HS HRN BR WH NHN KH OS

 

 

Case 2:21-mj-00490-SKV Document1 Filed 09/02/21 Page 12 of 13

from J.M.’s car outside the SPENCER HOUSE. During the conversation, ARTZ sent the
following text messages:
I was riding with the homie just getting to the 81st projects. And an under
cover task force hit his lights on us
1 jumped out and ran.... I got away but they took my home to jail and
impounded his car
Along with my Gucci backpack and all my work
I noticed that the conversations that took place after June 30th, 2021, appeared to
be made by S.S. S.S. identified herself in several messages and told recipients that she
was using ARTZ’s phone. §.S.’s use of ARTZ’s phone begins when ARTZ was arrested
and booked into the Snohomish County Jail.
Additional M30 Pills Found in the SPENCER HOUSE, Gun Found in a Car Outside
22. On September 2, 2021 TPD executed a search warrant at the SPENCER
HOUSE with the assistance of the FBI. During the course of that search, TDP identified
a room that was shared by S.S. and §.S.’s daughter, and another room that appeared to be
used by ARTZ. In the room shared by S.S. and S.S.’s daughter, they found $2,420 in
cash rolled up and secured with rubber bands, a wallet with $1,344 cash, a credit card
with ARTZ’s name, and a driver’s license of another individual, and a fanny pack
containing a scale, miscellaneous drug paraphernalia, and seventeen M30 pills. In the
room that appeared to be used by ARTZ they found various drug paraphernalia, a scale,
and baggies with white residue.
Based on the above facts, I respectfully submit that there is probable cause to

believe that ROBERT KYE ARTZ did conspire to distribute, heroin, methamphetamine,

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 12
United States v. Artz et al., MJ 21-490-SKV
Oo CO sD NA FP WD NYO

NO YO DN KR KO BHR BD BR RO RR; ey a ea eae
on DN AH BPW YP KF DO OH YD DH NH BP WHO YH KF OO

 

 

Case 2:21-mj-00490-SKV Document1 Filed 09/02/21 Page 13 of 13

and fentanyl (N-phenyl-N—[1—(2—phenylethyl)—4—piperidinyl] propanamide), substances
controlled under Title 21, United States Code, Section 812.
All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C),

and 846.
ee

Task Force Officer, FBI

 

Based on the Complaint and Affidavit sworn to before me, and subscribed in my
presence, the Court hereby finds that there is probable cause to believe the Defendant
committed the offense set forth in the Complaint.

Dated this “ Zr day of September, 2021.

SW Valve

S. Kate Vaughan
United States Magistrate J Nave

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970

Complaint- 13
United States v. Artz et al., MJ 21-490-SKV
